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                                   19606



             IN THE UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF KENTUCKY, COVINGTON DIVISION

WILLIAM VIRGIL,
                                            )
                       Plaintiff,           )
                                            )
      v.                                    )    Case No. 16-CV-224
                                            )
CITY OF NEWPORT, et al.,                    )    Notice of Appeal
                                            )
                       Defendants.          )
                                            )


                               NOTICE OF APPEAL

      Notice is hereby given that Plaintiff, William Virgil, in the above named case,

hereby appeals to the United States Court of Appeals for the Sixth Circuit from the

final judgment granting summary judgment in part and denying it in part, and

granting Plaintiff’s Motion for Certificate of Appealability, entered in this action on

September 30, 2021 (Dckt. No. 352). This appeal includes the claims identified in

Plaintiff’s Motion for Certificate of Appealability (Dckt. No. 346 at 2).

                                                RESPECTFULLY SUBMITTED,


                                                /s/ Elliot Slosar
                                                One of Plaintiff’s Attorneys
Arthur Loevy
Jon Loevy
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                           CERTIFICATE OF SERVICE

       I, Elliot Slosar, an attorney, hereby certify that on October 12, 2021, I filed
the foregoing motion via the Court’s CM/ECF System and thereby served a copy on
all counsel of record.


                                                     /s/ Elliot Slosar




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